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AO 91 (Rev. 11/11) Criminal Complaint


                                    UNITED STATES DISTRICT COURT
                                                             for the
                                                      District of Kansas

                  United States of America                      )
                             v.                                 )
                                                                )       Case No.
                                                                )                   19-mj-5105-ADM
                JARRETT WILLIAM SMITH                           )
                                                                )
                                                                )
                          Defendant(s)


                                               CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my lmowledge and belief.
On or about the date(s) of          Aug 21, 2019 to Sept 20, 2019      in the county of                Geary          in the
                      District of           Kansas          , the defendant(s) violated:

            Code Section                                                    Offense Description


18 U.S.C. 842(p)                             Distribution of Information Related to Explosives, Destructive Devices, and
                                             Weapons of Mass D~struction




         This criminal complaint is based on these facts:


See attached Affidavit




         ~ Continued on the attached sheet.




                                                                           SA Brandon LaMar, Federal Bureau of Investigation
                                                                                           Printed name and title

Sworn to before me and signed in my presence.


Date:      September 23, 2019
                                                                                             Judge's signature

City and state:                     Kansas·City, Kansas                    . Hon. James P. O'Hara, Chief US Magistrate Judge
                                                                                           Printed name and title
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                                 UNITED STATES DISTRICTCOURT
                                      DISTRICT OF KANSAS

 UNITED STATE OF AMERICA,
                Plaintiff,

        v.                                                            Case No.   .I q_ 510 5 - ..r\Df\/\
 JARRETT WILLAM SMITH,
               Defendant.

                          AFFIDAVIT IN SUPPORT OF COMPLAINT

 1.     I, Brandon LaMar, your affiant, am a Special Agent with the Federal Bureau oflnvestigation
 ("FBI"), and have been employed as a Special Agent with the FBI since July of2018. I am currently
 assigned to the FBI Manhattan Resident Agency, Kansas City Division. I am an investigative or
                                                                                          .          .
 law enforcement officer of the United States within the meaning of Section 2510(7) of Title 18,
 United States Code, and am empowered by law to conduct investigations of and to make arrests for
 offenses enumerated in Section 2516 of Title 18, United States Code. I am currently assigned to
 the FBI Joint Terrorism Task Force (JTTF) and I am tasked with investigating both international
. and domestic terrorism. As a Special Agent with the FBI, l have participated in and conducted
 several investigations of violations of various Federal and State criminal laws, and participated in
 the preparation and/or execution of search, arrest, and seizure warrants, all in violation of Title 21
 and Title 18, United States Code. I ain a graduate of the FBI Basic Field Training Academy in
 Quantico, November 16, 2018.

 2.     I respectfully submit this affidavit in support of a Complaint alleging that JARRETT
 WILLIAM SMITH has committed the offense of Distributing Information Relating to Explosives,
 Destructive Devices, and Weapons of Mass Destruction, in violation of Title 18, United States
 Code, Section 842(p ).

 3.     The facts in this affidavit come from my personal observations, my training and
 experience, and information obtained from other Law Enforcement and witnesses. This affidavit
 is intended to show merely that there is sufficient probable cause for the requested Complaint and
 does not set forth all of my knowledge about this matter.
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 4.     On March 27, 2019, the FBI received information regarding the Facebook user ID
 100000714556127, belonging to JARRETT WILLIAM SMITH. SMITH was reported to have
 disseminated guidance on how to construct, Improvised Explosive Devices (IEDs) and to have
 spoken about his desire to travel to Ukraine to fight with the Ukraine-based violent far-right
 paramilitary group, Azov Battalion.

 5.     JARRETT SMITH joined the U.S. Army on June 12, 2017. Following his initial entry
 training at Fort Benning, Georgia, SMITH proceeded to his first duty station on November 27,
 2017, at Fort Bliss, Texas. SMITH serves the U.S. Army as an infantry soldier, trained in combat
 and tactical operations, and he presently is a private first class. SMITH transferred to Fort Riley,
 Kansas on July 8, 2019.

 6.     JARRETT SMITH is connected via social media (Facebook)- and on one occasion had an
 in-person meeting in El Paso, Texas - with Craig Lang. Lang has traveled to Ukraine and fought
 with the Right Sector, another group in Ukraine similar to the Azov Battalion, between 2017-
 2019. Facebook communicatjons received by the FBI highlight Lang's mentorship to SMITH as
· he prepared for SMITH to join him in the fighting in Ukraine.

 7.     On June 23, 2016 (before SMITH enlisted in the U.S. Army), SMITH and Lang engaged
 in a conversation over social media indicating SMITH's desire to fight in Ukraine:

        a. SMITH stated, "No former military experience, but if I cannot find a slot in Ulaaine by
           October I'll be going into the Atmy ... To fight is what I want to do. I'm willing to listen,
           learn, and train. But to work on Firerums is fine by me too."

        b. Lang responded, "Alright, I'll forward you over to the guy that screens people he'll
           most likely add you soon[ ... ] Also as a pre-warning if you come to this unit and the
           government comes to shut down the unit you will be asked to fight. You may also be
           asked to kill certain people who become on the bad graces of certain groups."

 8.     On December 8, 2018 (after SMITH enlisted in the U.S. Army), SMITH led a group chat
 on Facebook, with Lang included, discussing his ability to build IED's. ·




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       a. "Oh yeah, I got knowledge ofIEDs for days. We can make cell phone IEDs in the style.
          of the Afghans. I can teach you that. .. " SMITH went on to provide instruction on how
          to construct a cell phone detonator for an IED that, according to an FBI Special Agent
          Bomb Technician with whom I consulted, is accurate.

       b. A group member asked about the explosive, to which SMITH replied with a description
         . of how to manufacture an explosive material using the heads of matches. According to
           an FBI Special Agent Bomb Technician with whom I consulted, SMITH's instructions
           are not accurate ifthe wrong type of matches are used. They are accurate, however, if
          the right type of matches were to be used.

9.     On August 19, 2019, SMITH engaged with a Confidential Source (hereafter referred to as
the CS) in an online chat group and discussed a plan of conducting an attack within the United
States and that he was looking for more "radicals" like himself. SMITH talked with the CS about
killing members of the far left group, Antifa, as well as destroying nearby cell towers or local
news station.

10.    On August 21, 2019; SMITH told the CS that the headquarters of a major American news
network would be a suggested target, utilizing a vehicle bomb:

          a. SMITH: [major news network] headquarters.

          b. CS: That would make a statement.

          c. SMITH: A large vehicle bomb. Fill a vehicle full of [various explosive materials],
            . then fill a ping pong ball with [commonly available chemical] via drilling then
              injection. Put the ball in the tank of the vehicle and leave. 30 minutes later, BOOM.
              [According to an FBI Special Agent Bomb Technician with whom I consulted,
              SMITH's instructions would not result in a viable explosive device].

11.    On September 20, 2019, SMITH engaged with an FBI Undercover Employee (UC), with
SMITH utilizing the moniker Anti-Kosmik 2182, on Telegram:

          a. SMITH: Hey brother, [PROTECT IDENTITY] said you may have a use for my
             knowledge and told me to contact you. What's up?




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b. UC: Thanks brother. Have an idea. Just don't know the specifics on how to build it. ,
   [PROTECT IDENTITY] said you knew your shit and would be someone good to
   talk to.

c. SMITH: What do you have in mind?

d. UC: Something that has enough power to take out a car and anything inside and
   something stable easy/enough to take from OK to TX?

e. SMITH: Ok. I think I have an idea for you. You will need [various household
   chemicals and commonly-available equipment]. You can keep all the materials
   separate until it's time. Plus the randomness will aid you in the case of searches and
   the materials themselves usually aren't considered suspicious.

          [SMITH then gave further, very specific instructions for the '
          construction of an explosive device. According to an FBI Special
          Agent Bomb Technician with whom I consulted, however, SMITH's
          instructions would not result in a viable explosive device.]

f. UC: I am reading and thinking but this looks really good. I like the fact that
   everything is stuff you find around the house.

g. SMITH: That's the best way to fight people. Making AK-47s out of expensive parts
   is cool, but imagine of you will if you were going to WalMart instead of gun store
   to buy weapons.

h. UC: Perfect.

i. SMITH: Are you looking for any other interesting tricks?

J. UC: I'll take anything you got. This is not my area of expertise. Just want to make
   sure the target is gone.

k. SMITH: What's the target?

1. UC: TX politician

m. SMITH: What level? Mayor? State rep? Senator?

n. UC: I have a few. Primary, secondary, tertiary. Ideally, fed Gov, Congress. But
   know I can get close on other. Been looking.



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o. SMITH: You would need [various chemicals and equipment], a large amount of
   either black powder or smokeless powder, and a cell phone with active service.

p. UC: I got money. Just need the knowledge. I was thinking of something stable so I
   could drive down but I could construct it down there.

q. SMITH: I'll include the instructions. This is a Middle East style bomb that if big·
   enough or connected to the right explosive can damage or destroy US military
   vehicles. Most of the time it can obliterate civilian vehicles and people nearby.

r. SMITH: [SMITH then gave further, very specific instructions for constructing an
   explosive device, all of which have been determined by an FBI Special Agent
   Bomb Technician to be viable. At the end, SMITH cautioned: "Be very careful
   with the fully armed device. There have been cases where Middle Eastern
   insurgents built these bombs only for them to detonate prematurely because of
   telemarketers or people with wrong numbers who unwittingly called the devices
   and ended up accidentally blowing up the insurgents."]

s. UC: This is incredible. Thank you.

t.    SMITH: If you want a quick and cheap gas grenade, a [combination of commonly
      available chemicals] will work. [Instructions for activating the device]. Blows in 8-
      15 seconds. One hell of a wallop and it leaves behind a cloud of toxic chlorine gas.

u. UC: Having these ideas opens up my thinking. Take all that you got and appreciate
   it.

v. SMITH: Last one for a quick incendiary/HE grenade. Tape a firecracker to a
   [commonly available household item]. You only need one for good effect, but you
   can get a HUGE explosion and a good fire going if you can tape 4 or 5 together.
   Simply ignite the firecracker and throw the device. Hope you're fast on your feet,
   this one also gets loud. I consulted an FBI Special Agent Bomb Technician, who
   told me this recipe would likely result in construction of a viable device, although
   he believes anyone using this device would be within range of the device when it
   exploded.

w. UC: Well I'd be the fastest moving Aryan you ever seen. But, also awesome idea.
   Got a liberal texas mayor in my sights! Boom with that IED and that dude's dead.

x. SMITH: There ya go.



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           y. UC: You got anyone down in Texas that would be a good fit for fire, destruction
              and death?.

           z. SMITH: Outside of Beto? I don't know enough people that would be relevant
              enough to cause a change if they died.

12.    SMITH was arrested on September 21, 2019. In a Mirandized interview prior to his arrest,
SMITH admitted to me that he knows how to make improvised explosives devices, and that in
online chat rooms he routinely provides instruction
                                          .
                                                    on building explosive devices.
                                                                             '
                                                                                   He admitted
that he provides this information even to individuals who tell him they intend to use the information
to cause harm to others. SMITH stated that he did this to cause "chaos." He told me that if chaos
results in the death of people, even through infdrmation he provided, it doesn't affect him.

13.    Based on the information listed above, I respectfully submit there is probable cause to
believe that SMITH has distributed information relating to explosives, destructive devices, and
weapons of mass destruction, in violation of Title 18 U.S.C. § 842(p)
                                                (




I swear under penalty of perjury, that the foregoing is true and correct,




Subscribed and sworn to before me on September 23, 2019, at Kansas City, Kansas.


      ~ r((l+r>--
Honorable James P. O'Hara
CHIEF U.S. MAGISTRATE JUDGE
District of Kansas




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